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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

                                                    )
 UNITED STATES OF AMERICA,                          )     CASE NO. 3:21-CR-504
                                                    )
                        Plaintiff,                  )     JUDGE JEFFREY J. HELMICK
                v.                                  )
                                                    )     RESPONSE TO THE GOVERNMENT’S
 JEREMY DAVID ADAMS,                                )     MOTION IN LIMINE NO. 2
                                                    )
                        Defendant.                  )

       Jeremy Adams, by and through counsel, submits this response to the government’s

Motion in Limine No. 2. (Doc. No. 150). The government moved this Court to prohibit two

things: (1) Mr. Adams presenting his out-of-court exculpatory statements through witnesses or

other means; and (2) the defense mentioning potential penalties. For the reasons that follow, Mr.

Adams asks the Court to deny the government’s motion in part.

       As an initial matter, Mr. Adams does not contest the government’s motion to the extent it

seeks to prohibit testimony or argument mentioning potential penalties. Neither does Mr. Adams

contest the motion to the extent it seeks to prohibit him from introducing his out-of-court

exculpatory statements through other witnesses.

       But the government’s motion purports to prohibit Mr. Adams from presenting his out-of-

court exculpatory statements through “other means,” and this is the point Mr. Adams contests.

Mr. Adams recognizes Sixth Circuit precedent prohibiting the introduction of his out-of-court

exculpatory statements through the testimony of other witnesses. United States v. Ford, 761 F.3d

641, 651-52 (6th Cir. 2014). But this limitation applies to the testimony of other witnesses, not

all other means. Mr. Adams retains his right to present a defense and therefore asks the Court to
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deny the government’s liminal motion to the extent it seeks to prohibit him from offering a

defense by other means.

                                                    Respectfully submitted,
                                                    Stephen Newman
                                                    Federal Public Defender
                                                    Ohio Bar: 0051928

                                                    /s/ Claire R. Cahoon
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